`, CaSe 18-70843-BHL-7A DOC 32 Filed 10/03/18 EOD 10/03/18 16222:04 Pg 1 Of 9

STEVEN BLACK
Debtor t

 

first items \l.'»i:t§: Nan~.= test item

Debm, 2 JENNIFER BLACK

 

{Spouse‘ i.i filing} wet item wise aian Lase r~.'a~.-.a

United Sle:es Banirreptcy Coue for the: goulhem Dist:ict of fN

1870843

Case number
{|! t:s\eem]

 

 

 

Oi“iicia| Form 427
Cover Sheei: for tie-affirmation Agreement 12f15

 

Anyono Wi:o is a party to a reaffirmation agreement may fill out and file this form. FEEE tt out comple!ety, attach it to the reattlrmation agreement,
and fife the documents within the time set under Bankruplcy Rule 4098.

Exp}ain the Repayment Terms of the Reaffirmation Agreement

 

 

1. whorsme credited Freedom i\/iortgege Corporetion

Neme of the czeditor w

 

2. How much is the debt?

 

On the date that the bankruptcy case is med S 1 9691 009

196910.09

To be paid under the reaffirmation egreemezit $
3131¢:.14 346

3. Wisat is the Annual
Percentage Rate (APR)

per month for months tit lixer§ interest rate)

 

it§$oo %

Betore the bankruptcy case was filed

 

of interest? (See
Bankrltptcy COCfB Under the reaffirmation agreement 4 ‘12500 % ¥~`t:<ed rate
§ 524{|<)(3)(5}-} Adjus\abie rate
4. Does collateral secure m No
the dow 843 GROVEVIEW CT E\/ANSVJL¥_E tN 47711

 

`fes. Descn'be the unilateral

Cunent market vaiue

_ §202,300.00

 

 

5. ers the creditor assert 51 NO

that the debt ls . .
um\¢;{gchargeab;e? 0 Yes. Atfach an explanation of the nature of the debt and the basis for contending that the debt is nondischargeabie.

6. Using information from income and expenses reported on Schedulas land .f income and expenses stated on the reaffirmation agreement
Schedu!e I: Your income

(Otticiet Form tOBE) and
Sc:hedu!e J: Your 6@. Combined monitin income from SRM Be. trinnthiy income from att sources 8 _\_'_‘\B§S,§\_

Expg,»,ses (Ofncgar Form tine 12 of Schedui`e t after payroll deductions
tOBJ), till in the amounts.
6b. Mon!hty expenses from iine 22a of_ 6f. £vtonthty expenses _
Schedu,ej sLM'-',S`?Q§£\ $\_>§:3?5335
Gc. Monthly payments on ali _ 6g. Monthiy payments on att h_ t> §§
i reaffirmed debts not listed on S w reaffirmed debts not included in 3
§ _ Scheduie 3 monthiy expenses
Sd. Scheduieci net monthly income 5 \EQ. §§ § 6h. Presen! net monthty income 5 \‘, ) §`_\Q
Sul)lract lines 6b and tie from 83. Subtract lines tit and 69 from E`>e.
if the total is fees than U, not the if the total is less than O, put the

 

 

nomi)erin hrackets. number in i)raci<ets.

Ott'zciel Form 427 Cover Siieet for Reatiirmotion Agreement page t

 

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new STEVEN B LACK ease numbemm, 1870343
Fthemo |-*-'dd§e|‘£emo i..attNart‘-e

7. Ai'e the lncome amounts d No
on lines 6a end tie 0 ¥es. Explairi why they aro differentand complete line 10.
different?

B. Are the expense 3 No _
amounts on llnos 6b a Yes. Explaln why they are differentand complete one 10.
and of different?

9. is the net monthly @ No
income in line ah less t:} ¥es. A presumption of hardship arises (untess the creditor is a credit unlon).
than 0? Exp|aln how the debtor will make monthly payments on the teei’liirned debt and pay other living expenses.

Cornpieie line 10.

 

 

 

10. Debtor’c certification

about gloss 7_9 l certify that each expianation on lines 7-9 ls true and correct

it any answer entities 7-9 is
Yes, the debtor must sign

hore. x X

lt ali the answers on lines ?~9 Stgnatura of Debior 1 Slgriaiure of Debior? (Spouse Ontyin a Joint Case)
are No. go to line tt.

 

 

 

11. Did an attorney represent NO

the debtoan negotiating Yos. Has the attorney executed a declaration or an affidavit to support the reaffirmation agreement?
the reaffirmation n No
agreement?

m Yes

 

 

 

 

 

Whoever title out this form l certify that the attached agreement ls a true and correct copy of the reaffirmation agreement between the

 

musts|gn here. parties identified entitle Covrir Shaet far Reafi"i‘rmat‘i'on Agreement.
/ … 04 "` i l ge
X ft cwt rare iii i i,
signaium/ ' 7 i.ii.t 'ioo i‘r\'w
l\/iaria i\/icDe\/itt
_Printodl\tame
Checkone:

Debtor or Debtor’s Altomey
Creditor or Crediior's Attorney

 

 

 

Othclal Form 427 Cover Shoot for Real“flmiatlon Agreement page 2

 

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B2400A (Form 2490A) (12!15)

 

Check one.

C| Presumption of Undue Ha.rdship

il No Presumption of Undue Harciship
See Debtor’s Statement in Support of
Reaf_}‘“trmation, Partl'l below, to determine
which box to check.

 

 

 

UNITED STATES BANKRUPTCY COURT

Soufhem Dlstrict ot` |N

lo re steven BLAci<
Debtor

, Case No. 1370843

Chapter 7

REAFFIRMATION DOCUMENTS

Name of Credtror: Freedom Mortgage Corporatiori
ij Chcck this box if Creditor is a Credit Union

I. REAFFIRMATION AGREEMENT

Reat`tlrming a debt is a serious financial decision. Before entering into this Reaft'irmatlon
Agreement, you must review the important disclosures, instructions, and definitions found
in Part V of this Reai'firmation Documents packet

l. Brief description ot` the original agreement being reaffirmed: Rea' Esia\e
Foi' e.raiirple, auto loan

2. AMOUNTREAFFIRMED: $195910'09
The Amount Reafi`inned is the entire amount that you arc agreeing to pay. Thls
may include unpaid principal, interest, and fees and costs {it` any) arising on or
before the date you sign this Rcaff'trmation Agroernont.
See tire definition of "Amount Reojirmed ” in Port V.C below.
3. The ANNUAL PERCENTA GE RATE applicable to the Amounc Reafrirmed is 4-12500 %.
See definition of "Annuo! Percentoge Rai'e ” in Port V. C beiow.

ThlS is il (olier:k orte) FiXECl rate [:| Val`i&ble rate

If the loan has a variable rate, the future interest rate may increase or decrease from the Annual
Percentage Rate disclosed here.

 

1

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BZdEl(JA (Focrn 240DA) { 1211 $) Page 2

4. Reaftirmation Agreernent Repayment Terms:
f fixed term, $1314-14 per month for 346 months starting on 05101/2013 .

|:llf not fixed term, describe repayment terms:

 

5. Describe the collaterai, if any, securing the debt:

' Descriprion; 843 GRovaiEw cr EvANsvlLLE lN 41711
Current Market Value $ 202,800.00

 

6. Did the debt that is being reaffirming arise from the purchase of the collateral described
above?

Yes |:|No

Ifyes, what was the purchase price for the coltateral? $ 199975.00
Ifno, what was the amount of the original loan? $

7. Detail the changes made by this Reaf`r`irmation Agreernent to the inost recent credit terms on
the reaffirmed debt and any related agreement:

Terms as of the Terms After
Date of Bankmptcy Reaffirmation
Baiance due (includr'ng
fees andcosts) $196910'09 $196910-09
Armuai Percentage Rate moir md
Monfhly Paym@nt $1314.14 $1314.14

8. ij Chcck this box if the creditor is agreeing to provide you with additional future credit in
connection With this Reaffirmation Agreement. Describe the credit iimit, the Annual
Percentage Rate that applies to hinge credit and any other terms on future purchases and
advances using such oredit:

 

 

II. DEBTOR’S STATEMENT IN SUPPORT
OF REAFFIRMATION AGREEMEN'I`

l. Were you represented by an attorney during the course of negotiating this agreement?
Chect< one. § Yes 13 No
2. Is the creditor a credit union?

Check one. Cl Yes [# No

 

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smart norm ziooA)(lzrls} regs 3
3. If your answer to ElTl-IER question l. or 2. above is “No" complete a. and b. below.
a.. My present monthly income and expenses are:

i. Monthly income from all sources after payroll deductions

(take-home pay plus any other income) $\_'\u\_,°§,°;.§\

ii. Monthly expenses (including ali reaffirmed debts except

this one) $_'§\_§\;\_.®

iii. Arnount available to pay this reaffirmed debt (subtract ii. from i.) $M\
iv. Amount of monthly payment required for this reaffirmed debt $M

Ifthe monthly payment on this reaffirmed debt (lz‘ne iv.) is greater than the amount you have
available to pay this reaffirmed debt (lz'ne iii.), you must check the box at the top of page one that
says "Presumption of Una‘ue Hardship. ” Otherwise, you must check the box at the top of page
one that says “No Presumption of Unalue Hardship. ”

b. l believe this reaffirmation agreement will not impose an undue hardship on my dependents
or on me because:

Check one of the two statements below, if appiicable:

§ l can afford to make the payments on the reaffirmed debt because my monthly income
is greater than my monthly expenses even alter i include in my expenses the monthly
payments on all debts I am reaffirming, including this one.

El I can afford to make the payments on the reaffirmed debt even though my monthly
income is less than my monthly expenses after l include in my expenses the monthly
payments on all debts l am reaffirming, including this one, because:

 

Use an additional page if needed for a fuil explanationl

4. lfyour answers to BOTH questions l. and 2. above were “Yes,” check the following
statement, if applicable:

fJ 1 believe this reaffirmation agreement is in my financial interest and l can afford to
make the payments on the reaffirmed debt.

Also, check the box at the top of page one that says "No Presumprion of Una'ue Hardshlp,”

 

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Il!. CERTIF!CATION BY DEBTOR(S) AN}) SIGNATURES OF PARTIES

l (We) hereby certify that:
i. l(Wc) agree to reaffirm the debt described above
ii. Before signing this reaffirmation agreement, l (we) read the terms discfosed in this
Reaf`f`lrmation Agreement (Part i) and tiie Disclosure Statement, instructions and

Deiinitions incinded in Part V below',

iii. 'I`l\e Debtor’s Staternent in Support of Reaftirmation Agrccment (Part ll abovc) is
true and complete;

iv. I am (We are) entering into this agreement voluntarily and fully informed of my
{our) rights and responsibilitics; and

v. l (We} have received a copy of this completed and signed Reaffirmation Doenments
packet

SIGNATURE(S):

Date Q/?i§ [ i‘é Signatui€ 7 " -/’:§b///
pate glfi<i)il il Signaeue \li\t\\lftl\ \ <wil\QF

\hjfa!\ii)ebror, ifwry

___»-4"'

li`ajoint reaffirmation agreement, both debtors must sign.

Rcaffirmation Agroomcnt 'I`crms Accepted by Crcdilor:

 

C;.Cdiw,. Freedorn Mortgage Corporatton 500 Vir~giata Dr. Sie. 502 Fi. t-Vasirmgrsn, nn loose
t

 

 

Pl int Nr'!mc’ /lri`rll' ‘\‘
mi¥inQ m<l®t)rIL‘/L /]O(/d/‘etn/V){ l!/f /@A/F<l/
P) mt Name aj R€pr mescnlo!ive .S`igmmm Dui€

IV. CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY}
yield only ifffhe attorney represented fire debtor during fire <‘orrr.re qf‘)legr)tia!r'ng this agreemen!.
lit" } b

rare y certify that: {l} this agreement represents a fully informed and voluntary agreement
by the dcbtor; (2) this agreement does not impose an undue hardship on the debtor or any
dependent of the debtor; and (3) l have fully advised tire debtor Of` the legai effect and
consequences of this agreement and any default under this agreement

 

13 A presumption of undue hardship has been estabtished with respect to this agreement In
my opinion, however, the debtor is able to make the required payine_ut.

C/rccil' box, ifiire presumption oj`cma'ae hardship box is checked on page l amf fire creditor is
not a Crer!i! Union.

Date Ci| §§ g 53 Signature ofl)ebtor’s Attorncy 64 )\~3 j\

Print Name of Debtor’s Attorney !L}ZQI ~" 3. Kt r~Jl’i-!\`\-

 

 

 

 

 

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132th tran 2400A) (12115) rage s

V. DISCLOSURE STATEMENT AND INS'I`RUC'I`IONS TO DEBTOR(S)

Bef`ore agreeing to reaffirm a debt, review the terms disclosed in the Roaffirmation
Agreement (Part I) and these additional important disclosures and instructions

Reaff`lrmlng a debt is a serious financial decision. The law requires you to take certain steps tc
make sure the decision is in your best interest lf` these steps, detailed in Part B below,_are not
completed, the reaffirmation agreement is not effective, even though you have signed it.

A. DISCLOSURE STA'I`EMENT

1. What are your obligations if you reaffirm a debt? A reaffirmed debt remains your
personal legal obligationl Your reaffirmed debt is not discharged in your bankruptcy
case. That means that if you default on your reaffirmed debt after your bankruptcy case is
over, your creditor may be able to take your property or your wages. Your obligations
will be determined by the reaffirmation agreement, which may have changed the terms of
the original agreement ff you arc reaffirming an open end credit agreement, that
agreement or applicable law may permit the creditor to change the terms of that
agreement in the future under certain conditions

2. Are you required to enter into a reaffirmation agreement by any law? No, you are
not required to reaffirm o debt by any law. Only agree to reaffirm a debt if it is in your
best interest Be sure you can afford the payments that you agree to make.

3. What if your creditor has a security interest or lien? Your bankruptcy discharge does
not eliminate any lien on your property A “lien” is often referred to as a security
interest, deed of trust, mortgage, or security deed. The property subject to a lien is often
referred to as collateral Evcn if` you do not reaffirm and your personal liability on the
debt is discharged, your creditor may still have a right under the lien to take the collateral
if you do not pay or default on the debt. If` the collateral is personal property that is
exempt or that the trustee has abandoncd, you may be able to redeem the item rather than
reaffirm the debt. To rcdeem, you make a single payment to the creditor equal to the
current value of the collateral, as the parties agree or the court determines

4. How soon do you need to enter into and file a reaffirmation agreement? If` you
decide to enter into a reaffirmation agreement, you must do so before you receive your
discharge Af`ter you have entered into a reaffirmation agreement and all parts of this `
Rcafflrmation Documents packet requiring signature have been signed, either you or the
creditor should file it as soon as possible. 'l."he signed agreement must be filed with the
court no later than 60 days after the first date set for the meeting ofcreditors, so that the
court w(;ll have time to schedule a hearing to approve the agreement if approval is
require .

5. Can you cancel the agreement? You may rescind (cancel) your reaffirmation
agreement at any time before thc bankruptcy court enters your discharge, or during the
ott-clay period that begins on the date your reaffirmation agreement is filed with the court,
whichever occurs later. To rescind (cancel) your reaffirmation agreement, you must
notify the creditor that your reaffirmation agreement is rescinded (or canceled).
Remember that you can rescind the agreement, even if the court approves it, as long as
you rescind within the time allowed

 

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6.

When will this reaffirmation agreement be effective?

a. if you were represented by an attorney during the negotiation of your
reaffirmation agreement `

i. if the creditor is not a Credit Union, your reaffirmation agreement becomes
effective upon filing with the court unless the reaffirmation is presumed to be an
undue hardship in which case the agreement becomes effective only after the
court approves it;

ii. if the creditor is a Credit Union, your reaffirmation agreement becomes
effective when it is filed with the court.

b. If you were not represented by an attorney during the negotiation of your
reaffirmation agreement, the reaffirmation agreement will not be effective unless the
court approves it. To have the court approve your agreement, you must file a motion.
See Instruction 5, beiow. The court will notify you and the creditor of the hearing on
your reaffirmation agreement You must attend this hearing, at which time the judge will
review your reaffirmation agreement If the judge decides that the reaffirmation
agreement is in your best interest, the agreement will be approved and will become
effective However, if your reaffirmation agreement is for a consumer debt secured by a
mortgage, deed of tlust, security deed, or other lien on your real property, like your
home, you do not need to file a motion or get court approval of your reaffirmation
agreement

What if you have questions about what a creditor can do? If you have questions
about reaffirming a debt or what the law requires, consult with the attorney who helped
you negotiate this agreement If you do not have an attorney helping you, you may ask
the judge to explain the effect of this agreement to you at the hearing to approve the
reaffirmation agreement When this disclosure refers to what a creditor “may” do, it is
not giving any creditor permission to do anything The word “may” is used to teil you
what might occur if the law permits the creditor to take the action.

INSTRUCTIONS

Review these Disclosures and carefully consider the decision to reaffirm If you want to
reaffirm, review and complete the information contained in the Reaffirmation Agreernent
(Partl above). If your case is a joint case, both spouses must sign the agreement if both
are reaffirming the debt.

Complete the Debtor’s Statement in Support ofReaftirmation Agreement (Part ll above).
Be sure that you can afford to make the payments that you are agreeing to make and that
you have received a copy of the Disclosure Statement and a completed and signed
Reaffinnation Agrecment.

If you were represented by an attorney during the negotiation of your Reaffirmation
Agreemcnt, your attorney must sign and date the Certification By Debtor’s Attorney
section (Part IV above).

You or your creditor must file with the court the original of this Reaffinnation
Documents packet and a completed Reaffirmation Agrcernent Covcr Sheet (Oiiicial
Bankruptcy Fon‘n 427).

§ you ore not represented by on ottorney, you must also complete andjile with the court
a separate document entitled "Motion for Court Approvaf ofReajlrmation Agreement
unless your reaffirmation agreement isfor o consumer debt secured by o lien on your
real property, such as your home You can use Fonn B2400B to do this.

 

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B2400A (Forrn 2400A) (EZI 15] Page 7
C. DEFHVITIONS
I. “Amount Reaffirrned” means the total amount of debt that you are agreeing to pay

(reaftirm) by entering into this agreementl The amount of debt includes any unpaid fees
and costs arising on or before the date you sign this agreement that you are agreeing to
pay. Your credit agreement may obligate you to pay additional amounts that arise after
the date you sign this agreement You should consult your credit agreement to determine
whether you are obligated to pay additional amounts that may arise after the date of this
agreement

“Annuai Percentage Rate” means the interest rate on a loan expressed under the rules
required by federal law. The annual percentage Rate (as opposed to the “stated interest
rate”) tells you the fuil cost of your credit including many of the creditor’s fees and
charges You will find the annual percentage rate for your original agreement on the
disclosure statement that was given to you when the loan papers were signed or on the
monthly statements sent to you for an open end credit account such as a credit card.

“Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)(1)(A)(iv).
It is owned and controlled by and provides financial services to its members and typically
uses words like “Credit Union” or initials like “C.U.” or “F.C.U.” in its name

 

